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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


 In re                                                                     Chapter 11

 LORDSTOWN MOTORS CORP., et al.,                                            Case No. 23-10831 (MFW)

                                         Debtors. 2                                  (Jointly Administered)
                                                                           Obj Deadline: February 12, 2023 at 4:00 p.m. (ET)
                                                                           Hearing Date: Only if objections are filed

SUMMARY COVER SHEET FOR FIFTH MONTHLY FEE APPLICATION OF BAKER
& HOSTETLER LLP, AS SPECIAL LITIGATION AND CORPORATE COUNSEL FOR
THE DEBTORS, FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT
                  OF EXPENSES FOR THE PERIOD OF
           NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

  Name of Applicant                                                                       Baker & Hostetler LLP

  Authorized to Provide Professional Services to:                                         Debtors

  Date of Retention:                                                                      August 18, 2023, nunc
                                                                                          pro tunc to June 27, 2023
  Period for Which Compensation and reimbursement are                                     November 1, 2023 -
  Requested:                                                                              November 30, 2023
  Total Amount of Compensation (100%):                                                                  $83,544.753

  Amount of Compensation Requested (80%):                                                                     $66,835.80

  Amount of Compensation Held Back (20%):                                                                     $16,708.95

  Amount of Expense Reimbursement Requested:                                                                         $0.00

  Aggregate Amount to be Paid Under Interim Compensation                                                      $66,835.80
  Order upon filing certificate of no objection regarding
  Application after expiration of Objection Deadline:

This is a monthly fee application.



2 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);

Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address 27000 Hills Tech Ct.,
Farmington Hills, MI 48331.
3 Baker & Hostetler has reduced the amount requested by $9,282.75 as a result of courtesy discounts that have been applied

consistent with past practices.


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                          SUMMARY OF BILLING BY PROFESSIONAL
                        NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023


                        Date of Bar                              Hourly       Total            Total
                                         Position with the
 Name of Professional   Admission                                Billing      Billed    Compensation
                                            Applicant
                                                                   Rate       Hours
Susan L. Atkinson                     Paralegal                  260.00            .7          185.50
Erica Barrow Clark       12/03/2013   Associate                  970.00          2.0         1,940.00
David H. Brown           06/27/2021   Associate                  610.00            .8          488.00
Suzanne K. Hanselman     11/18/1991   Partner                    805.00            .3          241.50
Brian M. Murray          11/08/1999   Partner                    685.00          3.2         2,192.00
Janet A. Spreen          05/16/2005   Partner                    780.00         83.7        65,286.00
Brittany E. Stevenson    12/14/2020   Associate                  400.00         33.7        13,480.00
Michael A. VanNiel       11/13/2001   Partner                    790.00         11.2         8,848.00
Jeffrey R. Vlasek        11/05/2007   Partner                    555.00            .3          166.50
                                                                               135.9        92,827.50
LESS DISCOUNTS                                                                              -9,282.75
TOTAL AMOUNT                                                                                83,544,75
                                                                       Blended Rate:           614.75




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                COMPENSATION BY PROJECT CATEGORY
             NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

 Task                                                         Total          Total
 Code   Category Description                                  Hours          Fees
B100    Administration                                            7.0        5,096.50
B110    Case Administration                                       5.5        4,705.00
B190    Other Contested Matters                                   2.0        1,580.00
B460    Securities Matters                                      118.2       79,254.00
B510    General Benefit Matters                                   3.2        2,192.00

                                                    Totals       135.9      92,827.50
                                            Less Discounts                  -9,282,75
                                                    Totals       135.9      83,544.75




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               EXPENSE SUMMARY
   NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

             Expense Category                    Amount
    None.
    Total:                                            0.00
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re                                                             Chapter 11

    LORDSTOWN MOTORS CORP., et al.,                                   Case No. 23-10831 (MFW)

                                      Debtors. 1                      (Jointly Administered)
                                                                      Obj Deadline: February 12, 2023 at 4:00 p.m. (ET)
                                                                      Hearing Date: Only if objections are filed

     FIFTH MONTHLY FEE APPLICATION OF BAKER & HOSTETLER LLP, AS SPECIAL
    LITIGATION AND CORPORATE COUNSEL FOR THE DEBTORS, FOR ALLOWANCE OF
                COMPENSATION AND REIMBURSEMENT OF EXPENSES
         FOR THE PERIOD OF NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

            Baker & Hostetler LLP (“B&H”), special litigation and corporate counsel for the Debtors

and the debtors in possession (collectively, the “Debtors”) in the above-captioned chapter 11

cases, hereby submits its Fifth Monthly Fee Application of Baker & Hostetler LLP, as Special

Litigation and Corporate Counsel for the Debtors, for Allowance of Compensation and

Reimbursement of Expenses for the Period November 1, 2023 through November 30, 2023 (the

“Application”), pursuant to sections 330 and 331 of title 11 of the United States Code, 11 U.S.C.

§§ 101-1532 (the “Bankruptcy Code”), Rule 2016(a) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), Rule 2016-2 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

and the Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses

for Chapter 11 Professionals and Committee Members, entered July 25, 2023 [D.I. 181] (the

“Interim Compensation Order”), for (i) allowance of compensation for professional legal



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address 27000
Hills Tech Ct., Farmington Hills, MI 48331.



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services rendered and reimbursement of actual and necessary expenses incurred for the period

from November 1, 2023 through November 30, 2023 (the “Application Period”), and respectfully

represents as follows:

                                    JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B).

       2.      Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§1408 and 1409.

       3.      The statutory predicates for the relief sought herein are sections 330 and 331 of the

Bankruptcy Code. Such relief is also warranted under Bankruptcy Rule 2016(a), Local Rule 2016-

2, and the Interim Compensation Order.

                                        BACKGROUND

A.     The Chapter 11 Cases

       4.      On June 27, 2023, (the “Petition Date”), the Debtors commenced the above-

captioned bankruptcy cases (the “Chapter 11 Cases”) by filing voluntary petitions for relief under

Chapter 11 of the Bankruptcy Code.

       5.      The Debtors have continued in the possession of their property and have continued

to operate and manage its businesses as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code.

       6.      On July 11, 2023, the United States Trustee for the District of Delaware (the “U.S.

Trustee”) appointed the official committee of unsecured creditors for these Chapter 11 Cases. No

trustee or examiner has been appointed in these Chapter 11 Cases.

B.     The Retention of Baker & Hostetler



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       7.     The Court has authorized the Debtors to retain and employ B&H as their special

litigation and corporate counsel, effective as of the Petition Date, pursuant to the Order

Authorizing the Retention and Employment of Baker & Hostetler LP as Special Litigation and

Corporate Counsel for the Debtors Effective Nunc Pro Tunc to the Petition Date, entered August

18, 2023 [D.I. 265] (the “Retention Order”).

C.     The Interim Compensation Order

       8.     On July 25, 2023, the Court entered the Interim Compensation Order which sets

forth the procedures for interim compensation and reimbursement of expenses in these Chapter 11

Cases. Specifically, the Interim Compensation Order provides that each Professional (as defined

in the Interim Compensation Order) seeking interim compensation may file an application (a

“Monthly Fee Application”) for interim approval and allowance of compensation for services

rendered and reimbursement of expenses incurred during the immediately preceding month and

serve a copy of such Monthly Fee Application on the Notice Parties (as defined in the Interim

Compensation Order). Then, each Notice Party will have until 4:00 p.m. (prevailing Eastern Time)

on the twentieth (20th) day after service of a Monthly Fee Application to object thereto (the

“Objection Deadline”). Upon expiration of the Objection Deadline, the Professional may file a

certificate of no objection consistent with Local Rule 9013-1(j) with the Court after which the

Debtors are authorized to pay each Professional an amount equal to the lesser of: (i) 80 percent

(80%) of the fees and 100 percent (100%) of the expenses requested in the Application or (ii) 80

percent (80%) of the fees and 100 percent (100%) of the expenses not subject to an objection.

                                   RELIEF REQUESTED

       9.     Pursuant to the Interim Compensation Order and section 331 of the Bankruptcy

Code, B&H makes this Application for allowance of compensation in the amount of $83,544.75,



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less a 20% holdback (in the amount $16,708.95), for a total of $66,835.80, for professional services

rendered. This amount is derived solely from the applicable hourly billing rates of B&H’s attorneys

and paraprofessionals who rendered such services to the Debtors. In addition, B&H seeks

reimbursement of expenses incurred during the Application Period in the amount of $0.00.

A.     Compensation Requested

       10.     Attached hereto as Exhibit A is a detailed itemization, by project category, of all

services performed by B&H with respect to the Chapter 11 Cases during the Application Period.

This detailed itemization complies with Local Rule 2016-2(d) in that each time entry contains a

separate time allotment, a description of the type of activity and the subject matter of the activity,

all time is billed in increments of one-tenth of an hour, time entries are presented chronologically

in categories, and all meetings or hearings are individually identified.

       11.     The attorneys and paraprofessionals who rendered services related to each category

are identified in Exhibit A, along with the number of hours for each individual and the total

compensation sought for each category. All services for which B&H requests compensation were

performed for or on behalf of the Debtors.

B.     Expense Reimbursement

       12.     B&H incurred out-of-pocket expenses during the Application Period in the amount

of $0.00. Attached hereto as Exhibit A is a description of the expenses actually incurred by B&H

in the performance of services rendered as counsel to the Debtors. The expenses are broken down

into categories of charges, which may include, among other things, the following charges:

photocopying, postage, telephonic appearances, messenger service, transcripts, computerized legal

research, and filing fees.




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       13.     In accordance with section 330 of the Bankruptcy Code, B&H seeks reimbursement

only for the actual cost of such expenses to B&H. B&H submits that the expenses incurred were

customary and necessary.

                                 VALUATION OF SERVICES

       14.      Attorneys and paraprofessionals of B&H have expended a total of 135.9 hours in

connection with this matter during the Application Period.

       15.     The amount of time spent by each of the professionals providing services to the

Debtors for the Application Period is set forth in Exhibit A. The rates are B&H’s normal hourly

rates of compensation for work of this nature. The reasonable value of the services rendered by

B&H for the Application Period as counsel for the Debtors in the Chapter 11 Cases is $83,544.75.

       16.     B&H believes that the time entries and the expense breakdown, included in Exhibit

A attached hereto, are in compliance with the requirements of Local Rule 2016-2.

       17.      In accordance with the factors enumerated in 11 U.S.C. § 330, the amount

requested is fair and reasonable given (a) the complexity of these cases, (b) the time expended, (c)

the nature and extent of the services rendered, (d) the value of such services, and (e) the costs of

comparable services other than in a case under this title.

                     CERTIFICATE OF COMPLIANCE AND WAIVER

       18.      The undersigned representative of B&H certifies that he has reviewed the

requirements of Local Rule 2016-2 and that the Application substantially complies with that Local

Rule. To the extent that the Application does not comply in all respects with the requirements of

Local Rule 2016-2, B&H believes that such deviations are not material and respectfully requests

that any such requirements be waived.




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                                             NOTICE

       19.     Pursuant to the Interim Compensation Order, this Application is being served on:

(a) the Debtors, (b) counsel to the Debtors, (c) the U.S. Trustee, and (d) all parties that have

requested notice pursuant to Local Rule 2002-1. B&H submits that no other or further notice need

be provided.

       WHEREFORE, Baker & Hostetler LLP respectfully requests the Court enter an order: (i)

granting the Application and authorizing (a) allowance of compensation in the amount of

$66,835.80 (80% of $83,544.75) for professional services rendered, and (b) reimbursement of

actual and necessary costs in the amount of $0.00 incurred, during the Application Period; (ii)

directing the payment by the Debtors of the foregoing amounts; and (iii) granting such other and

further relief as the Court deems just and proper.

 Dated: January 22, 2024                         BAKER & HOSTETLER LLP

                                                 /s/ Michael A. VanNiel
                                                 Michael A. VanNiel (0073948)
                                                 Key Tower
                                                 127 Public Square, Suite 2000
                                                 Cleveland, Ohio 44114
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                                                 Special Litigation and Corporate Counsel
                                                 to the Debtors




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